     Case: 1:20-cv-02658 Document #: 39 Filed: 08/05/20 Page 1 of 1 PageID #:378

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

United States of America, et al.
                                             Plaintiff,
v.                                                           Case No.: 1:20−cv−02658
                                                             Honorable Gary Feinerman
Dairy Farmers of America, Inc., et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 5, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Attorneys/Parties should
appear for the 8/19/2020 [21] hearing by calling the Toll−Free Number: (877) 336−1828,
Access Code: 4082461. Members of the public and media will be able to call in to listen
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court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice.(jlj, )




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